Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 1 of 20




                                                                           P00000183180
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 2 of 20




                                                                           P00000183181
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 3 of 20




                                                                           P00000183182
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 4 of 20




                                                                           P00000183183
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 5 of 20




                                                                           P00000183184
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 6 of 20




                                                                           P00000183185
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 7 of 20




                                                                           P00000183186
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 8 of 20




                                                                           P00000183187
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 9 of 20




                                                                           P00000183188
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 10 of 20




                                                                            P00000183189
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 11 of 20




                                                                            P00000183190
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 12 of 20




                                                                            P00000183191
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 13 of 20




                                                                            P00000183192
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 14 of 20




                                                                            P00000183193
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 15 of 20




                                                                            P00000183194
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 16 of 20




                                                                            P00000183195
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 17 of 20




                                                                            P00000183196
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 18 of 20




                                                                            P00000183197
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 19 of 20




                                                                            P00000183198
Case 6:15-cv-01517-AA   Document 381-407   Filed 10/15/18   Page 20 of 20




                                                                            P00000183199
